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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 MICHAEL L. TAYLOR and PETER M.
 TAYLOR,
        Petitioners,

                v.
                                                          C.A. No. 4:20-cv-11272-IT
 JEROME P. MCDERMOTT, Sheriff, Norfolk
 County, Massachusetts, and JOHN
 GIBBONS, United States Marshal, District of
 Massachusetts,

        Respondents.


                     PETITIONERS’ EMERGENCY MOTION FOR STAY

       Now comes the Petitioners, Michael Taylor and Peter Taylor, and move for an

emergency stay of any action to transfer or extradite the Petitioners to Japan to give the Court an

opportunity to consider and rule upon the Petition for Writ of Habeas Corpus filed herewith.

       In support of this motion, and sworn to under the pains and penalties of perjury,

undersigned counsel states as follows:

       1.      After 5:00 pm on Wednesday, October 28, 2020, counsel for the Petitioners

received correspondence from an Assistant Legal Advisor at the U.S. Department of State that

the Deputy Secretary of State had authorized the Petitioners’ surrender to Japan pursuant to 18

U.S.C. §1836 and the Extradition Treaty between the United States and Japan.

       2.      At 10:00 pm on Wednesday, October 28, 2020, undersigned counsel received an

email from a reporter in Japan asking if we could confirm that the Petitioners would be placed on

a flight from Boston Logan to Narita Japan today, October 29, 2020, at 1:00 pm.

       3.      Neither counsel, not the Petitioners, have received any official notification of an

intention to transport the Petitioners or place them on a flight as indicated above. It is unknown


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whether this media report is accurate, however, if it is, it is another indication of the manner in

which Japanese officials intend to treat this matter and deal with the Petitioners - - by leaking

information to media sources to cause prejudice and undo harm to the Petitioners’ legal rights.

       4.      Filed herewith is an Emergency Petition for Writ of Habeas Corpus pursuant to 28

U.S.C. §2241. This Court previously heard arguments and entered a ruling on the Petitioners’

motion for release during the pendency of the extradition proceedings. However, the Court has

not previously received or considered the substantive legal claims contained within the instant

Petition, which challenges the arbitrary and capricious actions of the State Department, and the

erroneous ruling and certification as to extradition rendered by United States Magistrate Judge

Donald Cabell on September 4, 2020.

       5.      In accordance with 28 U.S.C. §2241, Petitioners, both of whom are U.S. citizens,

are alleging that they are being unlawfully held in custody and surrendered to Japan in violation

of their rights under the Constitution and laws of this country. They deserve an opportunity to

raise these issues with the Court and have them fully and fairly considered.

       6.      If the media report described above is accurate, it would be outrageous and

unreasonable for the Government to transport and surrender the Petitioners to a foreign nation

less than 20 hours after they have been informed of the arbitrary and erroneous decision of the

State Department.




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       WHEREFORE, it is respectfully requested that the Court stay any action to transport or

surrender the Petitioners and allow time for the Court to consider and decide the issues raised in

the accompanying habeas petition.

Dated: October 29, 2020                              Respectfully submitted,

                                                     By their attorneys,
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